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   1 [COUNSEL LISTED ON FOLLOWING PAGE]

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   8                           UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10

  11 IMPACT ENGINE, INC.,                            CASE NO. 3:19-cv-01301-CAB-DEB
  12              Plaintiff,
                                                     JOINT MOTION TO STAY
  13        vs.                                      PRODUCTION DEADLINE IN
                                                     DKT. NO. 101
  14 GOOGLE LLC,
                                                     Judge: Hon. Cathy A. Bencivengo
  15              Defendant.                         Courtroom: 4C
                                                     Magistrate: Hon. Daniel E. Butcher
  16                                                 Courtroom: 3C
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                                                                   Case No. 3:19-cv-01301-CAB-DEB
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   1        Pursuant to Local Civil Rule 7.2, Plaintiff Impact Engine, Inc. (“Impact
   2 Engine”) and Defendant Google LLC (“Google”) (collectively, “the parties”) hereby

   3 stipulate and jointly move the Court to stay the August 26th production deadline set

   4 forth in the Court’s August 12th Order (Dkt. 101, “the Order”), until Impact Engine’s

   5 forthcoming Rule 72 Objections to that Order are ruled upon by the District Court

   6 Judge. The parties also stipulate that Impact Engine will forego a reply brief in

   7 support of its Objections. This stipulation and joint motion is conditioned upon

   8 Impact Engine filing Rule 72 Objections to the Order by the deadline to do so.

   9        The Order requires that Impact Engine “produce all non-privileged documents
  10 in response to Google’s RFP No. 60,” including any litigation funding agreements,

  11 by August 26. Dkt. 101 at 4. Pursuant to Federal Rule of Civil Procedure 72, Impact

  12 Engine’s objections to the Order are also due on August 26. Google has agreed to

  13 Impact Engine’s requested stay of the production deadline until after the District

  14 Court rules on Impact Engine’s forthcoming Rule 72 objections, if Impact Engine

  15 files Rule 72 objections by the deadline to do so, in exchange for Impact Engine

  16 forgoing a reply brief in response to Google’s opposition so that the forthcoming

  17 objections will be ripe for decision sooner. The parties will jointly contact the Court

  18 to advise when briefing is complete.

  19        Accordingly, the parties request this Court grant this Motion and stay the
  20 production of the litigation funding documents until after the Court rules on Impact

  21 Engine’s forthcoming Rule 72 Objections. Pursuant to Civil Local Rule 7.2(c), a

  22 proposed order has been concurrently submitted to the Court.

  23
       DATED: August 25, 2020                   Respectfully submitted,
  24
                                                KIRKLAND & ELLIS LLP
  25
                                                By: /s/ Sharre Lotfollahi________
  26                                                    Sharre Lotfollahi
  27                                             Attorneys for Plaintiff
                                                 IMPACT ENGINE, INC.,
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                                              QUINN EMANUEL URQUHART &
   3                                          SULLIVAN, LLP
   4                                          By: /s/ David A. Perlson____
                                                        David A. Perlson
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                                              Attorneys for Defendant
   6                                          GOOGLE LLC.
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   1                            CERTIFICATE OF SERVICE
   2
             The undersigned hereby certifies that a true copy of the foregoing document
   3
       has been served on August 25, 2020 to all counsel of record who are deemed to have
   4
       consented to electronic service via the Court’s CM/ECF system per Civil Local Rule
   5
       5.4. Any other counsel of record will be served by electronic mail, facsimile, and/or
   6
       overnight delivery.
   7

   8 DATED: August 25, 2020                      KIRKLAND & ELLIS LLP
   9                                             By: /s/ Sharre Lotfollahi________
                                                         Sharre Lotfollahi
  10
                                                  Attorneys for Plaintiff
  11                                              IMPACT ENGINE, INC.,
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